Case 2:21-cv-15132-KM-CLW Document 16 Filed 03/17/22 Page 1 of 2 PageID: 55




                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


 EAST ORANGE BOARD OF EDUCATION
 (“EOBOE”) AND NEW JERSEY SCHOOLS                  Civil Action No. 2:21-cv-15132-KM-CLW
 INSURANCE GROUP (“NJSIG”),

       Plaintiffs,

            v.                                         SECOND AMENDED PRETRIAL
                                                          SCHEDULING ORDER
 GREAT AMERICAN INSURANCE
 COMPANY (“GAIC”),

       Defendant.



       THIS MATTER having come before the Court on the Plaintiffs’ application for an
extension of the deadline for responding to interrogatories and document requests set forth in
the Court’s Amended Pretrial Scheduling Order filed on January 13, 2022 [ECF 13]; the parties
having reviewed the Court’s Civil Case Management Order as well as the Local Civil Rules;
counsel for all parties having consented to the entry of this Second Amended Pretrial
Scheduling Order; and for good cause shown,


       IT IS on this 17th day of March, 2022

       ORDERED THAT that this matter will proceed as follows:



1.     Fact Discovery Deadline. Fact discovery is to remain open through October 3, 2022.
       All fact witness depositions must be completed by the close of fact discovery. No
       discovery is to be issued or engaged in beyond that date, except upon application and
       for good cause shown.

2.     Motions to Add New Parties. Any motion to add new parties, whether by amended
       or third-party complaint, must be electronically filed no later than May 31, 2022.

3.     Motions to Amend Pleadings. Any motion to amend pleadings must be electronically
       filed no later than May 31, 2022.

4.     Rule 26 Disclosures. The parties have already exchanged Rule 26 disclosures.
Case 2:21-cv-15132-KM-CLW Document 16 Filed 03/17/22 Page 2 of 2 PageID: 56




5.    Interrogatories. The interrogatories previously served shall be responded to by
      April 8, 2022.

6.    Document Requests. The requests for the production of documents previously served
      shall be responded to by April 8, 2022.

7.    Depositions. The number of depositions to be taken by each side shall not exceed 12.

8.    Electronic Discovery. The parties are directed to Rule 26(f), as amended, which, inter
      alia, addresses preservation of discoverable information, discovery of electronically
      stored information, and claims of privilege or work product protection. The parties are
      also directed to Local Civil Rule 26.1(d) which describes the obligations of counsel with
      regard to their clients’ information management systems.

9.    Discovery Disputes. Please refer to the Court’s Civil Case Management Order.

10.   Motion Practice. Please refer to the Court’s Civil Case Management Order.

11.   Expert Reports. All affirmative expert reports shall be delivered by November 18, 2022.
      All responsive expert reports shall be delivered by January 6, 2023. Depositions of all
      experts to be completed by February 17, 2023.

12.   Form and Content of Expert Reports. All expert reports must comport with the form
      and content requirements set forth in Rule 26(a)(2)(B). No expert shall testify at trial as
      to any opinions or base those opinions on facts not substantially disclosed in the expert’s
      report.

13.   Extensions and Adjournments. Please refer to the Court’s Civil Case Management
      Order.

14.   Protective Orders. Any proposed confidentiality order agreed to by the parties must
      strictly comply with Rule 26(c), Local Civil Rule 5.3, and applicable case law. Please
      also refer to the Court’s Civil Case Management Order.

15.   Local Rules. The parties are directed to the Local Civil Rules for any other matter not
      addressed by this Order or the Court’s Civil Case Management Order.

16.   FAILURE TO COMPLY WITH THE TERMS OF THIS ORDER OR ANY
      OTHER ORDERS WILL RESULT IN SANCTIONS.


                                             s/ Cathy L. Waldor
                                             CATHY L. WALDOR
                                             United States Magistrate Judge


                                              -2-
